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              Exhibit B
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                        U.S. Patent No. 9,615,631 – Disclosure of Asserted Claims and Infringement Contentions



          The ‘631 Patent                                                      Exemplary Support
1     A rachet belt system,        Nexbelt unlawfully makes, uses, offers for sale, and sells within the United States, its PreciseFit™ line of
      comprising:                  belts (the “Accused Products”). The Accused Products comprise a rachet belt system, as shown below, and
                                   on Defendant’s website - https://www.nexbelt.com/pages/how-it-works.




                                   The Accused Products comprise a belt with a first and second terminal end with a first surface and a second
1(a) a belt extending from a
                                   surface opposite of the first surface, as shown above.
     first terminal end to a
     second terminal end
     along a length thereof,
     said belt having a first
     surface and a second
     surface opposite of the
     first surface; and

1(b) a buckle having a             The Accused Products comprise a buckle with a racheting mechanism on the first side of the buckle and a
     racheting mechanism           receptacle portion at the second side of the buckle. The receptacle portion attaches with the belt’s terminal
     disposed at a first side of   end. The buckle also contains a slot portion that slideably receives the second terminal end of the belt
                                                                        1
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           The ‘631 Patent                                                   Exemplary Support
      the buckle and a            through it, as shown below.
      receptacle portion
      disposed at a second side
      opposite of the first side,
      the receptacle portion
      being configured to
      attach with the belt at the
      first terminal end, and a
      slot portion configured
      to slideably receive at
      least the second terminal
      end of the belt
      therethrough;




1(c) Wherein: said belt          The Accused Products have a first notch strip that extends along the first surface of the belt and is
     comprises: a first notch    positioned to the second terminal end, as shown below.
     strip at least partially
     extending along said
                                                                      2
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           The ‘631 Patent                                                    Exemplary Support
      first surface of the belt
      and positioned adjacent
      to the second terminal
      end thereof;




1(d) Said first notch strip       The first notch strip, as shown above, comprises a plurality of notches aligned in series one adjacent to
     comprising a plurality of    another along the first notch strip.
     notches being aligned in
     series one adjacent to
     another along the first
     notch strip, wherein

1(e) Each of said notches        Each notch comprises a vertical wall extending upwardly from a recessed base toward said first surface of
     individually comprises a the belt and a tapered wall extending from said recessed base to said first surface. Each tapered wall of
     vertical wall extending     each notch forms an angle less than ninety degrees with the vertical wall, as shown below.
     upwardly from a
     recessed base toward
     said first surface of the
     belt and a tapered wall
     extending from said
     recessed base to said
     first surface, said tapered
     wall forming an angle
     with the vertical wall,
     wherein said angle is
                                                                     3
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            The ‘631 Patent                                                    Exemplary Support
       less than ninety degrees;
       and




1(f)   Said buckle comprises: a The buckle is comprised of a ratcheting tab that extends out from a tubular body of the ratcheting
       ratcheting tab extending mechanism, as shown below.
       outwardly from a tubular
       body of a ratcheting
       mechanism, the
       ratcheting tab configured
       to engage the vertical
       wall of one or more of
       said notches of the first
       notch strip; and




                                   The ratcheting tab is configured to engage the vertical wall of the notches of the first strip, as shown below.

                                                                        4
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          The ‘631 Patent                                                  Exemplary Support




1(g) A release lever coupled    As shown below, the buckle contains a release lever coupled to the tubular body. The release lever is
     to the tubular body, the   configured to rotationally disengage the ratcheting tab from the notch strip for releasing belt.
     release lever being
     configured to
     rotationally disengage
     the ratcheting tab from
     the notch strip for
     releasing the belt;




                                                                    5
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           The ‘631 Patent                                                    Exemplary Support




                                   The release lever extends outwardly from the tubular body and is oriented opposite the receptacle portion of
1(h) Wherein said release
                                   the buckle.
     lever extends outwardly
     from the tubular body
     and oriented in a
     direction opposite the
     receptacle portion of the
     buckle;




                                   The Accused Products are comprised of two layers with a monolithic insert disposed in between said two
1(i)   Further characterized in
                                   layers.
       that: said belt comprises
       a first belt layer, a
       second belt layer, and a
       monolithic insert
       disposed between said
       first and second belt
                                                                       6
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    The ‘631 Patent                                     Exemplary Support
layers.




                                                  7
